12-12020-mg      Doc 6098-1 Filed 12/13/13 Entered 12/13/13 14:00:41     Exhibit
                      Certificate of Good Standing Pg 1 of 1




            COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS.




         BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston

within and for said County of Suffolk, on the          eigfktk
day of         Novemker           A.D.   2011    , said Court being the highest

Court of Record in said Commonwealth:

                              Justin J. Lowe

being found duly qualified in that behalf, and having taken and subscribed
the oaths required by law, was admitted to practice as an Attorney, and, by
virtue thereof, as a Counsellor at Law, in any of the Courts of the said
Commonwealth: that said Attorney is at present a member of the Bar, and
is in good standing according to the records of this Court*.


         In testimony whereof, I have hereunto set my hand and affixed the

               seal of said Court, this tkirteentk day of Decemker




X3116
